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AO (Rey. 5/85) Criminal Complaint

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA CRIMINAL COMPLAINT

er CASE NUMBER: 3:24-mj- |5649- Ppp)

ANGEL RAMON LOPEZ-HERNANDEZ

I, the undersigned complainant, being duly sworn, state the following is true and correct to
the best of my knowledge and belief. From on or about December 11, 2024, in the Middle
District of Florida, and elsewhere, the defendant,

knowing and in reckless disregard of the fact that an alien had come to, entered,

and remained in the United States in violation of law, did transport and move the

alien within the United States by means of transportation and otherwise, in
furtherance of such violation of law, for the purpose of private financial gain,

in violation of 8 U.S.C. § 1324(a)(1)(A)(ii) and (a)(1)(B)(i)._ I further state that I am a Border
Patrol Agent of the United States Department of Homeland Security, Customs and Border
Protection, United States Border Patrol, and that this Complaint is based on the following facts:

SEE ATTACHED AFFIDAVIT

Continued on the attached sheet and made a part hereof: Yes CINo

Sig re of Complainant
Juan M. Miranda
Sworn to before me and subscribed in my presence,

December |3 . 2024 at Jacksonville, Florida _/

PATRICIA D. BARKSDALE
United States Magistrate Judge \
Name & Title of Judicial Officer Signature of Judicial Officer

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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT
AND MATERIAL WITNESS WARRANTS

I, Juan M. Miranda, being a duly sworn and appointed Border Patrol Agent
for the Department of Homeland Security, Customs and Border Protection, United
States Border Patrol, hereby make the following statement.

1. I am a Border Patrol Agent for the United States Border Patrol and
have been so employed for over 17 years. I have training and experience in the
enforcement of the immigration and nationality laws of the United States. In
addition, I have training and experience in the preparation, presentation, and service
of criminal complaints and arrest warrants.

2. The statements contained in this affidavit are based on my personal
experience and observations as well as the experiences and observations of fellow
Border Patrol Agents and other law enforcement officers as they have described them
to me. This affidavit does not contain every fact regarding the investigation but sets
forth sufficient facts to establish probable cause to believe that on December 11,
2024, ANGEL RAMON LOPEZ-HERNANDEZ, a citizen of Mexico, transported
aliens unlawfully present in the United States, for the purpose of private financial
gain, in violation of 8 U.S.C. § 1324(a)(1)(A)qai) and (a)(1)(B)(i).

3. This affidavit also sets forth probable cause to believe that OSCAR
ESTRADA-CASTRO and EDUARDO LEON-CONTRERAS, each of whom is a

citizen of Mexico, are material witnesses in the criminal proceedings against
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LOPEZ-HERNANDEZ, that it would be impracticable to secure their presence by
subpoena, and therefore that material witness warrants should be issued to secure
their presence, pursuant to 18 U.S.C. § 3144.

4, From training and experience, I know that criminal alien smuggling
operations transport illegal aliens unlawfully in the United States from the border
with Mexico to staging cities near the border in California, Arizona, New Mexico,
and Texas. After they arrive in these cities, alien smugglers load the illegal aliens into
vehicles and transport them to metropolitan areas in the United States. This travel is
often broken into several different segments utilizing different drivers and vehicles to
minimize detection. The smuggled illegal aliens are primarily from Mexico,
Guatemala, Honduras, and El Salvador. Smuggling cartels in the United States are
usually operated by Mexican nationals from Mexico and within the United States.

S, On December 11, 2024, at approximately 9:30 a.m., Border Patrol
Agent (BPA) Stephen Garland, a passenger in my vehicle at the time, was contacted
by Florida Highway Patrol (FHP) Trooper Trent Sistrunk about a suspected
smuggling event on Interstate 75, southbound near mile marker 437, in Columbia
County, Florida. Trooper Sistrunk advised BPA Garland that he had conducted a
vehicle stop at approximately 9:12 a.m. on a Ford Explorer with a Florida license tag
number of 77BZSP for illegal tint and improper display of a tag. The driver was
identified as ANGEL RAMON LOPEZ-HERNANDEZ, who presented a Mexican

Consular Identification Card but did not have a valid driver’s license. The vehicle
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contained a total of four passengers and the driver. The four passengers were
identtied as OSCAR ESTRADA-CASTRO, EDUARDO LEON-CONTRERAS,
NILSER RIVERA-ESCOBAR, and RIVERA-ESCOBAR’s minor daughter.

6. After receiving the information from Trooper Sistrunk, BPA Garland
relayed the information via service radio to other Border Patrol Agents in the
immediate area. BPA Jose Valentin advised that he was in the area and would
respond. At approximately 9:35 a.m., BPA Valentin arrived at the location of the
vehicle stop, followed shortly thereafter by Supervisory Border Patrol Agent (SBPA)
Matthew Bowers. A few moments later I arrived on scene with BPA Garland. Upon
BPA Valentin’s arrival on scene, Trooper Sistrunk informed BPA Valentin that
LOPEZ-HERNANDEZ was driver of the vehicle. At the time of BPA Valentin’s
arrival, all occupants of the vehicle had been placed in FHP vehicles while FHP
attempted to confirm their identities, with the exception of LOPEZ-HERNANDEZ,
who was being questioned by FHP outside of the patrol vehicles.

7. Upon completion of FHP’s questioning of LOPEZ-HERNANDEZ,
BPA Valentin identified himself as a Border Patrol Agent and questioned LOPEZ-
HERNANDEZ as to his citizenship and immigration status. LOPEZ-
HERNANDEZ informed BPA Valentin that he was a citizen of Mexico and was
illegally present in the United States. LOPEZ-HERNANDEZ was placed under

administrative arrest and secured in BPA Valentin’s patrol vehicle. At the time of his
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arrest LOPEZ-HERNANDEZ was in possession of several forms of identification
issued by the Government of Mexico.

8. As BPA Valentin was securing LOPEZ-HERNANDEZ in his patrol
vehicle, SBPA Bowers arrived at the vehicle stop. BPA Valentin and SBPA Bowers
approached the two male passengers, identified themselves as Border Patrol Agents,
and questioned them as to their citizenship and immigration status. Both
ESTRADA-CASTRO and LEON-CONTRERAS admitted to being citizens of
Mexico and both said that they did not have any immigration documents that would
allow them to be or legally remain in the United States. ESTRADA-CASTRO said
that he had illegally crossed the U.S./Mexico border within the past two weeks and
LEON-CONTRERAS said that he had recently crossed the border illegally. They
were placed under adminishative arrest and placed in SBPA Bowers’ patrol vehicle.

o. At about this time I arrived at the scene along with BPA Garland. After
speaking to SBPA Bowers and BPA Valentin, I approached RIVERA-ESCOBAR,
identified myself as a Border Patrol Agent, and questioned her as to her and her
daughter’s citizenship and immigration status. RIVERA-ESCOBAR advised me that
she had been previously apprehended in late 2023 after illegally crossing the
U.S./Mexico border. She stated that she was processed and given a court date for
some time in July 2026 but she could not recall the exact date, and then she was
released into the United States. While I questioned RIVERA-ESCOBAR, BPA

Garland ran records checks to verify her status and the records reflected that she had
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failed to report to immigration authorities as required by the conditions of her
release. RIVERA-ESCOBAR was placed under administrative arrest and she and her
daughter were secured in my service vehicle.

10.  Atthe scene, agents queried immigration databases for ESTRADA-
CASTRO and LEON-CONTRERAS. The checks revealed no prior immigration
history for ESTRADA-CASTRO. With regard to LEON-CONTRERAS, the checks
reflected that he had been encountered by immigration authorities on multiple
occasions and had been issued a final order of removal from the United States. At
approximately 10:30 a.m., all subjects were transported to the Jacksonville Border
Patrol Station for further questioning, biometric confirmation, and processing.

11. Records for the vehicle reflected that it was a 2015 Ford Explorer
registered to LOPEZ-HERNANDEZ, that he purchased it on September 22, 2022,
and that the mileage at the time of sale was 158,016. The vehicle’s odometer showed
that the mileage at the time of the stop was 401,996, meaning that the vehicle had
been driven more than 9,000 miles per month since LOPEZ-HERNANDEZ
purchased it.

12. Atapproximately 11:45 a.m., all agents arrived at the Jacksonville
Border Patrol Station with all five subjects. BPAs Valentin and Ramon Poventud
entered the four adult subjects’ fingerprints, names, and dates of birth into a
biometric identification system to determine whether they had ever been encountered

by immigration authorities. The records returned by the system reflected that
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LOPEZ-HERNANDEZ, LEON-CONTRERAS, and RIVERA-ESCOBAR had
been previously encountered. The system did not return any records for ESTRADA-
CASTRO, indicating that he had not been previously encountered.

13. The records for LOPEZ-HERNANDEZ showed that he had been
encountered by the Border Patrol in Texas in January 2005 and had been granted a
voluntary return to Mexico. The records for LEON-CONTRERAS showed that he
had been encountered by immigration authorities on multiple occasions since 2016
and that he had been issued a final order of removal and removed to Mexico in July
2024.

14.  Atthe Border Patrol Station, BPA Garland and I interviewed RIVERA-
ESCOBAR. The interview was conducted in the Spanish language. During the
interview RIVERA-ESCOBAR stated that she was from Honduras and was traveling
with her five-year-old daughter. She said that she had entered the United States
illegally in September 2023. Upon her entry, she was arrested by immigration
authorities, processed, and released with a pending court date in July 2026. She
stated that she had been living in Conway, Arkansas, for over a year and was visiting
family in Atlanta, Georgia, where she contacted a friend by the name of “Mari” who
lived in Miami, Florida. Mari told RIVERA-ESCOBAR that she knew a person in
Atlanta who could bring RIVERA-ESCOBAR to Miami. Mari then requested
RIVERA-ESCOBAR’s location so that she could send it to the person. A few hours

later, RIVERA-ESCOBAR received a phone call from Mari stating that the driver
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had arrived at her location. RIVERA-ESCOBAR was greeted by a male wearing a
red T-shirt who confirmed RIVERA-ESCOBAR’s identity. RIVERA-ESCOBAR
stated that she and her daughter then boarded the vehicle and departed the area. The
driver asked RIVERA-ESCOBAR what country she was from, to which she replied,
Honduras. The driver informed her that he was Mexican.

15. LTasked RIVERA-ESCOBAR how much money she paid the driver and
she said that she had not paid him anything. She said that she overheard a
conversation in which the driver said that he would charge her friend, Mari, $700 for
the ride. RIVERA-ESCOBAR was not sure of the exact amount because she did not
make the arrangements. I asked her how many passengers were in the vehicle and
she said a total of five including the driver. She said that they were in the vehicle for
approximately two to three hours before they were stopped by the police.

16. Agents contacted Immigration and Customs Enforcement,
Enforcement and Removal Operations (ERO), regarding RIVERA-ESCOBAR and
they advised that they would re-enroll her in ERO’s Alternative to Detention
program. RIVERA-ESCOBAR and her daughter were released and picked up by a
family member.

17. Atthe Border Patrol Station, BPA Armando Martinez interviewed
ESTRADA-CASTRO. The interview was conducted in the Spanish language.
During the interview, ESTRADA-CASTRO stated that he lived in Mexico with his

father and sister. He said that about a year ago he decided to come to United States
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to stay with family in Florida and seek employment in construction. He said that he
met a guy by the name of “Coy” who lived in a neighboring town who said that he
could get ESTRADA-CASTRO to Florida for $12,000. ESTRADA-CASTRO left
his home on November 16, 2024, and traveled to Ciudad Juarez, Chihuahua,
Mexico. He said that he illegally entered the United States in November 2024 near El
Paso, Texas, by crawling under the fence with two other individuals.

18. ESTRADA-CASTRO stated that he was picked up in a silver truck and
taken to a trailer in El Paso where eight other individuals were staying. The
smuggling organization would not let them leave the house but provided them with
food. At that time, ESTRADA-CASTRO spoke with his family and was told that
they had paid 50,000 Mexican pesos (approximately $2,500 at the current rate of
exchange) to the smuggling organization. He did not know at the time of the
interview whether his family had paid the entire smuggling fee. He said that after a
week in El Paso he was taken to a different house in New Mexico.

19. ESTRADA-CASTRO stated that on approximately December 7, 2024,
he and seven other subjects were transported to Atlanta. Along the way to Atlanta,
the driver made frequent stops at various cities delivering the occupants to their
destination city. On December 9, 2024, ESTRADA-CASTRO was dropped off at a
house in Atlanta. He said that in the early morning of December 11, 2024, a female
and her daughter arrived at the house. He said that shortly thereafter a driver arrived

to pick up him and the female with the child. They all left the house and traveled to a
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gas station approximately 30 minutes away where they picked up another male.
During the trip to Florida, the driver asked ESTRADA-CASTRO when he had
arrived in the country and ESTRADA-CASTRO stated that he had crossed three
weeks before.

20. Atthe Border Patrol Station, BPAs Martinez and Poventud interviewed
LEON-CONTRERAS. The interview was conducted in the Spanish language.
During the interview, LEON-CONTRERAS stated that he was from Guanajuato,
Mexico. He said that he had illegally entered the United States near Douglas,
Arizona, in 1997. He said that he lived in Colorado for three years and has lived in
Florida since 2000. He stated that he had been recently arrested for a crime in
Florida and after the case was resolved he was turned over to immigration
authorities and deported to Mexico in June or July 2024.

21. LEON-CONTRERAS stated that on approximately November 18,
2024, he entered the United States illegally near Naco, Arizona. He said that after he
entered the country a car picked him up and took him to a nearby house. BPA
Martinez asked him if he had paid any amount at this point, to which LEON-
CONTRERAS replied “no.” LEON-CONTRERAS stated that he had provided the
deed to his property in Mexico which was worth $7000 to his friend “Angel” to
make the smuggling arrangements. He said that Angel disappeared after he got to the
house near Naco, Arizona, and he has not seen him since. He stated that the house

was being operated by a man known as “EI Chon.” He said that he was at the house
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for two weeks and then was transported to Atlanta. He stated that he was taken to a
plaza in Atlanta and then was transferred to the vehicle that was pulled over in
Florida. He said that the driver and the three other passengers were already in the
vehicle when he entered it. He said that he sat in the rear of the vehicle with the
female and her child. The driver told LEON-CONTRERAS that he was taking him
to his destination in Florida. BPA Martinez asked him if he had paid any money to
the driver and he stated that he had not paid anything because his payment was his
deed. LEON-CONTRERAS was shown a photo line-up and identified the driver as
LOPEZ-HERNANDEZ.

22. Atthe Border Patrol Station, BPA Martinez and I interviewed LOPEZ-
HERNANDEZ. The interview was conducted in the Spanish language. Before the
interview, I rad LOPEZ-HERNANDEZ his constitutional rights and he
acknowledged that he understood his rights and was willing to give a statement
without a lawyer present. He then signed a waiver of rights form.

23. LOPEZ-HERNANDEZ stated that he was from Teziutlan Puebla,
Mexico, and was illegally present in the United States. He said that he had been
living in the United States for about 20 years, having entered in May of 2003 or 2004.
He said that he was the owner of the vehicle that was stopped. He said that he did
not know any of the passengers who were in the vehicle. He stated that he had
picked up the female passenger at a hotel and the male passengers at a Kroger’s

grocery store located in Atlanta. He said that he was asked to transport the female

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passenger and her daughter to Lake Worth, Florida, and the male passengers to
Bradenton/Brandon near Tampa.

24. Lasked LOPEZ-HERNANDEZ why he picked up the passengers and
he said that he was unemployed and needed money. I asked him who arranged the
transportation of the passengers from Atlanta to Florida and he said that a mechanic
friend of his had asked him to transport the female passenger and her daughter as a
favor. He stated that he had agreed to transport the females if the mechanic paid for
the gasoline. He said that another friend of his had received a call from a guy named
“Popeye” and asked about transporting two males to Florida. He said that he had
agreed to do so and that he was going to be paid $100 per passenger, via Western
Union. He was asked how many times he had transported illegal aliens and he said
about three other times. He said that he had transported illegal alien workers from
North Carolina to Florida.

25. Based upon the foregoing facts, I believe there is probable cause to
establish that on December 11, 2024, ANGEL ROMAN LOPEZ-HERNANDEZ
transported aliens unlawfully present in the United States, for the purpose of private
financial gain, in violation of 8 U.S.C. § 1324(a)(1)(A)q@i) and (a)(1)(B)(i), and that

OSCAR ESTRADA-CASTRO and EDUARDO LEON-CONTRERAS are material

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witnesses for whom material witness arrest warrants should be issued, pursuant to 18

oj

Juan MUMiranda

Border Patrol Agent
United States Border Patrol
Jacksonville, Florida

U.S.C. § 3144.

Sworn to and subscribed before me
this |2P, day of December 2024.

PATRICIA D. BARKSDALE
United States Magistrate Judge

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